                      Case 3:13-cv-00569-MMD-VPC Document 205 Filed 06/26/18 Page 1 of 3



                  1    Richard C. Gordon, Esq.
                       Nevada Bar No. 9036
                 2     Kelly H. Dove
                       Nevada Bar No. 10569
                  J    Jennifer L. McBee
                       Nevada Bar No. 9110
                 4     SNELL & WILMER I,I.P.
                       3883 Howard Hughes Parkway, Suite 1100
                  5    Las Vegas, NV 89169
                       Telephone: (702) 784-5200
                  6    Facsimile: (7 02) 7 84-5252
                       Email: rgordon@swlaw.com
                  7            kdove@swlaw.com
                              jmcbee@swlaw.com
                  8
                       Attorneys        for Defendant   lVells Fargo Banh N.A.
                  9

                 10                                 IN THE UNITED STATES DISTRICT COURT

                 11                                                DISTRICT OF'NEVADA

                 12
        Z              ROBERT A. SLOVAK, ffi individual                              CASE NO. 3: 13-ov-00569-RCJ-VPC
 Elåe            l3
 lrl*a                                             Plaintiff,                        WELLS FARGO BANK, N. A.'S
F I n€ic         t4                                                                  MOTION X'ORAN ORDER
rr i Ejiì              vs.                                                           PRODUCING TRANSCRIPT FROM
,z iïäxl         l5                                                                  SEALED RECORDING OF
      I Si rts
-r
6lrì                   GOLF COURSE VILLAS HOMEOWNERS'                                F EBRUARY 23, 2018 HEARTNG
 dl      l-s           ASSOCIATION; GOLF COURSE VILLAS
Øt f             16
                       LIMITED PARTNERSHIP; WELLS FARGO
        Ë
                 t7    BANK, N.4., and DOES 1 - 10,Inclusive,

                 18                                Defendants.

                 t9
                 20              Defendant Wells Fargo Bank, N.A. ("Wells Fargo"), by and through its counsel, the law

                 2t    firm of Snell & Wilmer           L.L,p., hereby moves this Court   for an order allowing production of the

                 22

                 23

                 24

                 25

                 26

                 27

                 28



                       4846-6191-3707
                       Case 3:13-cv-00569-MMD-VPC Document 205 Filed 06/26/18 Page 2 of 3



                   1    transcript from the sealed recording of the February 23, 2018 hearing on Plaintiff s Motion to

                  2     Enforce Settlement Agreement before Magistrate Judge Valerie P. Cooke.

                  J
                                  Dated:   June26,2018.            SNELL & WILMER L.L.P.
                  4
                                                                           /s/ Jennifer L. McBee
                  5
                                                                   Richard C. Gordon (NV Bar No. 9036)
                  6
                                                                   Kelly H. Dove (NV BarNo. 10569)
                                                                   Jennifer L. McBee (NV Bar No. 9110)
                   7
                                                                   3883 Howard Hughes Parkway, Suite 1100
                                                                   Las Vegas, Nevada 89169
                   8
                                                                   Telephone: (7 02) 7 84-5200
                                                                    Facsimile: (702) 784-5252
                   9                                               Attorneys   for Defendant   Wells Fargo Bank, N.A.

                  l0
                  1l
           o      t2
           :
bl
cl
           å-
           Øa     13
lrl        ia
s     I   Ii¿.3   t4
> iË¡i$
  3o
-A     Êz?
<., I È Yfd       15
   l lr!PÉ
-6l-ri
 cl Ëi
u)t        Ë
                  t6
           g
                  t7
                  t8

                  T9

                  20

                  2l
                  22

                  23

                  24

                  25

                  26

                  27

                  28

                                                                      -2 -
                        4846-6191-3707
                    Case 3:13-cv-00569-MMD-VPC Document 205 Filed 06/26/18 Page 3 of 3



                I                                       CERTIF'ICATE OF SERVICE

               2               I   hereby certify that on June 26, 2018,      I electronically   filed the foregoing WELLS

               J     F,ARGO BANK, N. A.'S MOTION FOR AN ORDER PRODUCING TRANSCRIPT FROM

               4     SEALED RECORDING OF FEBRUARY 23,2018 HEARING with the Clerk of Court for the

                5    U.S. District Court, District of Nevada by using the Court's CM/ECF system.

               6               I further certify that I emailed the foregoing document to the following:
                7              Tory M. Pankopf, Esq.
                               Email : tory @pankopfu slaw. com
                8

                9
                               DATED this 26th day of June,2018.
               l0
               1l
                                                                     An                  Snell & V/ilmer L.L.P
               12
       E
 l<r    I
 Ol    'á-     13
 FI


>   IP*rq      t4
'"¿ j  ö sáÈ
c(,) I Þ*E4¡
               15
-r I 5i þts
Tliì
UDI    Ë
               t6
       g
               l7
               18

               t9
               20

               2l
               22

               23

               24

               25

               26

               27

               28

                                                                        -J-
                     4846-6191-3707
